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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                         *
                                                 *            CRIMINAL NO. RDB-11-547
       v.                                        *
                                                 *            CIVIL NO. RDB-19-0958
NICKY CASH                                       *
                                                 *
                                                 *
                                              *******

      GOVERNMENT’S RESPONSE TO MOTION TO VACATE, SET ASIDE, OR
            CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

       The United States of America, by undersigned counsel, respectfully submits the following

response in opposition to Petitioner’s pro se Motion to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. § 2255. ECF No. 978. The Motion should be denied because it is untimely and

meritless.

                                            BACKGROUND

       Nicky Cash (“Petitioner”) was a high-ranking member of Dead Man, Inc. (“DMI”), an

openly violent Maryland racketeering enterprise. While part of DMI, Petitioner trafficked in

narcotics, sometimes smuggling drugs into prison, was personally involved in covering up and/or

committing at least two murders, and was at times a leader of the “Diamonds” – i.e., female

members of DMI.

       Consequently, on March 29, 2012, Petitioner was charged in a twenty-seven count

Superseding Indictment with three counts relevant to her: conspiracy to violate the Racketeer

Influenced and Corrupt Organizations Act (“RICO conspiracy”), in violation of 18 U.S.C §

1962(d) (Count One); accessory after the fact, in violation of 18 U.S.C § 3 (Count Six); and

conspiracy to distribute and possess with intent to distribute narcotics, in violation of 21 U.S.C. §

846 (Count Twenty-Seven). ECF No. 283 (Superseding Indictment).

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       On October 25, 2012, Petitioner pled guilty to Count One, RICO conspiracy, pursuant to a

written plea agreement. ECF Nos. 474 (Re-arraignment), 474 (Plea Agreement). Petitioner

admitted her membership in DMI, as well as her personal involvement in the murders of two

victims and the smuggling of narcotics into prison. See ECF No. 475 at ¶ 6. Specifically, Petitioner

stipulated:

       The Defendant, Nicky Cash, acknowledges her responsibility for the crime charged
       in Count One of the Superseding Indictment in the above-captioned case. The
       Defendant acknowledges that in the time period charged in Count One, Dead Man,
       Inc. (DMI) was a racketeering enterprise and that each of the elements in ¶ 2 above
       is satisfied. Specifically she admits she was associated with or employed by the
       DMI enterprise and knowingly and willfully became a member of the conspiracy.
       She became a member of DMI in 2009. Female DMI members are called
       “Diamonds,” and Cash was the head of the Diamonds for various periods of time.
       In February, 2009, Cash assisted John Adams and Michael Forame in changing
       their clothes after the stabbing of James Flanary. For months prior to June 2, 2009,
       DMI “SC” Percy Roark had placed Tony Geiger “on the menu,” meaning he was
       to be killed. Roark’s motive was fear that Geiger would cooperate with the police
       and reveal what he knew about a 1994 prison murder that Geiger witnessed Roark
       commit. On or about June 2, 2010, Percy Roark instructed Nicky Cash to pass onto
       John Adams Roark’s order to kill Geiger forthwith. Cash called Adams telling him
       to come over and get Geiger out of her house. When Adams arrived, Geiger had
       left, but Cash told Adams to look for him and knowingly passed on Roark's order.
       Adams and Dane Shives immediately went to find Geiger. They returned a short
       time later, and Adams reported that the murder was completed. Later, in 2009, Cash
       became an Elder in DMI. For many months, Cash and other DMI members
       distributed cocaine in the area of her residence in South Baltimore and also in the
       area of her place of employment, Chez Joey, on Baltimore Street in downtown
       Baltimore. Cash frequently smuggled and aided and abetted the smuggling of
       heroin and other narcotics to Percy Roark in prison. The Defendant thus agreed
       with other members of DMI to engage in the affairs of DMI through a pattern of
       racketeering activity that included multiple acts of narcotics trafficking and a
       murder.

Id.

       At sentencing, the Court adopted the factual findings and advisory guideline applications

in the Presentence Report (“PSR”) without change. Statement of Reasons (“SOR”), at I.A. Thus,

the Court found that a cross-reference to U.S.S.G. § 2A1.1(a), the sentencing guideline for first



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degree murder, was appropriate under § 2D1.1(d)(1),1 due to Petitioner’s involvement in the

murder of Tony Geiger. PSR at ¶ 11. As a result, Petitioner’s base offense level was 43 under §

2A1.1(a). Id. Combined with a 3-level reduction for acceptance of responsibility under U.S.S.G.

§§ 3E1.1(a) and (b), her final offense level was 40. PSR at ¶ 20. When combined with a criminal

history category of I, the guidelines sentencing range was 292 to 365 months. SOR at III.

       On March 20, 2013, this Court granted Petitioner a downward departure that was

recommended by both parties,2 and sentenced her to 228 months’ imprisonment. ECF No. 636

(Judgment and Commitment Order).          Counts Six and Twenty-Seven of the Superseding

Indictment, as well as the initial Indictment, were dismissed on the government’s motion. Id.

       On April 1, 2013, Petitioner filed a Notice of Appeal of her conviction and sentence. ECF

No. 645. On January 15, 2014, the Fourth Circuit dismissed the appeal, on the government’s

motion, as barred by the appellate waiver in her plea agreement. ECF No. 774. On April 21, 2014,




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        Section 2D1.1(d)(1) provides: “If a victim was killed under circumstances that would
constitute murder under 18 U.S.C. § 1111 had such killing taken place within the territorial and
maritime jurisdiction of the United States, apply § 2A1.1(a) (First Degree Murder).”
2
       The Court explained:

       The Government counsel and the Defense counsel both agreed that the advisory
       guideline range of 292 to 365 months was excessive. The Defendant acknowledged
       at her guilty plea that she transmitted an order to other individuals to commit a
       murder. Furthermore, she acknowledged assisting others in the changing of their
       clothes after the stabbing murder of another victim. She also acknowledged
       assisting in the drug distribution efforts of a prison gang. However, this is the
       defendant's first criminal offense and she has no prior criminal record. Accordingly,
       the Court examined the sentence imposed upon co-defendants previously sentence
       in this multidefendant case. Considering all other factors 18 U.S.C. § 3553(a)(6),
       the Court imposed a sentence of 19 years (228 months). (Defense counsel had
       suggested a sentence of 180 months and Government counsel urged a sentence of
       240 months).

SOR at V.D.
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the Supreme Court denied a petition for writ of certiorari. Cash v. United States, 572 U.S. 1078

(2014).

          On March 29, 2019, Petitioner filed a pro se Motion under 28 U.S.C. § 2255 to Vacate, Set

Aside or Correct Sentence, raising one claim of ineffective assistance of counsel and one claim

challenging her RICO conspiracy conviction under Johnson v. United States, 135 S. Ct. 2551

(2015), and Sessions v. Dimaya, 138 S. Ct. 1204 (2018).3 ECF No. 978. Petitioner’s § 2255

motion should be denied as both procedurally barred and meritless.

                                            LEGAL ANALYSIS

    I. Petitioner’s motion is untimely under 28 U.S.C. § 2255(f).

          Pursuant to the provisions of 28 U.S.C. § 2255(f), a one-year limitation period applies to

petitions filed under § 2255, which runs from the latest of:

          (1) the date on which the judgment of conviction becomes final;

          (2) the date on which the impediment to making a motion created by governmental
          action in violation of the Constitution or laws of the United States is removed, if
          the movant was prevented from making a motion by such governmental action;

          (3) the date on which the right asserted was initially recognized by the Supreme
          Court, if that right has been newly recognized by the Supreme Court and made
          retroactively applicable to cases on collateral review; or

          (4) the date on which the facts supporting the claim or claims presented could have
          been discovered through the exercise of due diligence.

          In order for Petitioner’s motion to be timely under § 2255(f)(1), it must have been filed

within one year of final judgment. When a defendant files a direct appeal, the judgment of




3
       The Supreme Court ruled in Johnson that the residual clause of the Armed Career Criminal
Act’s definition for violent felony, at 18 U.S.C. § 924(e)(2)(B)(ii), was unconstitutionally vague.
Johnson, 135 S.Ct. at 2558. Dimaya extended Johnson’s ruling to the crime of violence definition
at 18 U.S.C. § 16(b). Dimaya, 138 S. Ct. at 1210.

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conviction becomes final when the Supreme Court denies a petition for a writ of certiorari or when

the time for filing a certiorari petition expires. Clay v. United States, 537 U.S. 522, 527 (2003);

United States v. Sosa, 364 F.3d 507, 509 (4th Cir. 2004). The time for filing a petition for certiorari

expires 90 days after entry of the Court of Appeals’ judgment. Clay, 537 U.S. at 525.

       Here, the Supreme Court denied certiorari on April 21, 2014. As a result, the limitations

period expired one year later, on April 21, 2015. However, Petitioner did not file her § 2255

motion (ECF No. 172) until March 29, 2019, nearly four years after the limitations period expired.

Therefore, Petitioner’s motion is untimely under § 2255(f)(1).

       Petitioner asserts that her § 2255 motion is timely because he filed it within one year of the

Supreme Court’s decision in Dimaya. ECF No. 978 at 12.4 While it is true that Petitioner filed

the instant motion within one year of the Dimaya decision, she is incorrect that her motion is

therefore timely. In Dimaya, as noted above, the Supreme Court extended its ruling in Johnson to

find that the residual clause in the definition of a crime of violence at 18 U.S.C. § 16(b) was

unconstitutionally vague. See Dimaya, 138 S. Ct. at 1210. Dimaya has no impact on Petitioner’s

conviction or sentence because, as discussed below (see infra, Section II), her RICO conspiracy

conviction is valid regardless of whether it is a crime of violence. Therefore, Dimaya does not

render her late-filed motion timely.

       Because Petitioner’s motion does not rely on a right that was “newly recognized” by the

Supreme Court, she cannot utilize § 2255(f)(3) to justify its late filing. Further, the Motion is not

timely under any other provisions of § 2255(f), as her claim does not involve alleged

unconstitutional governmental action, as required by § 2255(f)(2), nor does it allege new facts that




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       The government references the electronic pagination.


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could not have been previously discovered through the exercise of due diligence, to satisfy §

2255(f)(4). Thus, Petitioner’s Motion is clearly time-barred under § 2255.

       The extraordinary remedy of equitable tolling could permit review of Petitioner’s untimely

Motion, however Petitioner has failed to set forth any argument supporting equitable tolling.

Moreover, the facts of this case would not justify such relief, even if he had done so. The Fourth

Circuit has held that the one-year statute of limitations may be forgiven under certain limited

circumstances. Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000). In Harris, the Fourth

Circuit explained that equitable tolling will only be warranted in rare and extraordinary

circumstances:

       [A]ny invocation of equity to relieve the strict application of a statute of limitations
       must be guarded and infrequent, lest circumstances of individualized hardship
       supplant the rules of clearly drafted statutes. To apply equity generously would
       loosen the rule of law to whims about the adequacy of excuses, divergent responses
       to claims of hardship, and subjective notions of fair accommodation. We believe,
       therefore, that any resort to equity must be reserved for those rare instances where-
       due to circumstances external to the party's own conduct – it would be
       unconscionable to enforce the limitation period against the party and gross injustice
       would result.

209 F.3d at 330. The Fourth Circuit further held in Rouse v. Lee, 339 F.3d 238, 246 (4th Cir.

2003), that under Harris’s “extraordinary circumstances” test, a petitioner is entitled to equitable

tolling only if he presents: (1) extraordinary circumstances, (2) beyond his control or external to

his own conduct, (3) that prevented him from filing on time. Rouse, 339 F.3d at 246; see also

United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (same). The Supreme Court has likewise

recognized that a litigant seeking equitable tolling generally bears the burden of establishing that

he has been diligently pursuing his rights and that some extraordinary circumstances stood in the

way of filing on time. Pace v. DiGugliellmo, 544 U.S. 408, 418 (2005).




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       Petitioner has made no attempt to invoke the doctrine of equitable tolling, as she merely

claims that her motion is timely because she filed it within one year of the Dimaya decision. See

ECF No. 978 at 12. Accordingly, Petitioner has not demonstrated any extraordinary circumstances

beyond her control that prevented her from complying with the statutory time limit. Nor has the

Government identified any circumstances that meet this high bar. Petitioner’s § 2255 motion

should be summarily denied as time-barred.

   II. Petitioner’s constitutional challenge is procedurally barred and meritless.

           A. Petitioner’s challenge of her conviction is procedurally defaulted.

       Petitioner’s Ground Two claim concerns the constitutionality of her conviction. See ECF

No. 978 at 24-26. However, Petitioner cannot collaterally challenge the constitutionality of her

RICO conspiracy conviction because she failed to raise that claim on direct appeal. Moreover, she

specifically waived her right to file an appeal in her plea agreement (ECF No. 474 at ¶ 11), and

that waiver does not excuse her procedural default.

       The “‘normal and customary method’ for correcting alleged errors in proceedings before a

trial court is by appeal, not collateral attack through a § 2255 or habeas corpus petition.” Gladhill

v. United States, No. CCB-11-48, 2011 WL 3156981, at *2 (D. Md. July 25, 2011) (quoting Sunal

v. Large, 332 U.S. 174, 177-78) (1947). A collateral attack is more limited than an appeal, and

the doctrine of procedural default generally bars consideration of any claim not raised on direct

appeal. Massaro v. United States, 538 U.S. 500, 504 (2003); Sanchez-Llamas v. Oregon, 126 S.

Ct. 2669, 2682 (2006). Habeas relief is an extraordinary remedy which “may not do service for a

[direct] appeal.” United States v. Frady, 456 U.S. 152, 165 (1982); Bousley v. United States, 523

U.S. 614, 621 (1998). A defendant who has waived or exhausted his right to appeal is presumed

to stand “fairly and finally convicted.” Frady, 456 U.S at 164.



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       Claims for relief pursuant to 28 U.S.C. § 2255 must be adequately preserved for collateral

review. In practice, this means that the defendant must raise it at trial (whether by motion,

objection or otherwise) and on direct appeal. See Murray v. Carrier, 477 U.S. 478, 490-92 (1986)

(finding a claim not raised on direct review was procedurally defaulted).

       However, a court may consider the merits of a procedurally-defaulted claim in two limited

instances. Under the first exception, a petitioner must show cause for not raising the claim of error

on direct appeal and actual prejudice from the alleged error. Bousley, 523 U.S. at 622; see also

Wainwright v. Sykes, 433 U.S. 72, 84 (1977); United States v. Mikalajunas, 186 F.3d 490, 492-95

(4th Cir. 1999). For petitioners seeking to raise a new claim on collateral review, the “cause and

prejudice” standard creates a “significantly higher hurdle than would exist on direct appeal.”

Frady, 456 U.S at 166. “Cause” to excuse procedural default exists only in those cases in which

a factor external to the defense prevented a defendant from raising a claim at the appropriate

juncture. Murray, 477 U.S. at 488. “[A]ttorney error short of ineffective assistance of counsel

[…] does not constitute cause.” See McCleskey v. Zant, 499 U.S. 467, 493 (1991). Thus, counsel’s

simple “failure to consider [an] argument” will not establish cause. Rose v. Lee, 252 F.3d at 687,

688. Additionally, an appeal waiver pursuant to a binding plea agreement does not excuse a

defendant’s failure to raise a claim on appeal. United States v. Jones, 56 F.3d 62, 1995 WL

321263, at *1 (4th Cir. 1995) (unpublished table opinion) (“Although [the petitioner’s] plea

agreement prevented him from appealing, this is not sufficient cause for his procedural

default.”)(citing United States v. Wiggins, 905 F.2d 51, 53 (4th Cir. 1990)).

       Assuming a defendant shows cause, he must show “actual prejudice resulting from the

errors of which he complains.” McCleskey, 499 U.S. at 493-94 (quoting Frady, 456 U.S. at 168).

To establish prejudice, a defendant must show not merely that the claimed errors resulted in a



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possibility of prejudice, “but that they worked to his actual and substantial disadvantage […].”

Frady, 456 U.S. at 170; Mickens v. Taylor, 240 F.3d 348, 356 (4th Cir. 2001).

       Under the second exception, a court may allow a petitioner to proceed with a § 2255 motion

if “a constitutional violation has probably resulted in the conviction of one who is actually

innocent.” Murray, 477 U.S. at 496; Bousley, 523 U.S. at 622. The “actual innocence” exception

applies “in an extraordinary case, where a constitutional violation has probably resulted in the

conviction of one who is actually innocent.” Murray, 477 U.S. at 496. As such, a petitioner “must

demonstrate actual factual innocence of the offense of conviction, i.e., that petitioner did not

commit the crime of which he was convicted; this standard is not satisfied by a showing that a

petitioner is legally, but not factually, innocent.” United States v. Pettiford, 612 F.3d 270, 282

(4th Cir. 2010). The Supreme Court has described such cases as “extraordinary” and presenting

“a fundamental miscarriage of justice.” McCleskey, 499 U.S. at 494. Thus, procedural default

generally presents a substantial obstacle to petitioners seeking habeas relief.

       Moreover, procedural default “has special force with respect to convictions based on guilty

pleas.” Bousley, 523 U.S. at 621 (citing United States v. Timmreck, 441 U.S. 780, 784 (1979)).

Convictions based on guilty pleas “carry a strong presumption of verity.” Blackledge v. Allison,

431 U.S. 63, 74 (1977). In Bousely, the Supreme Court stated that “even the voluntariness and

intelligence of a guilty plea can be attacked on collateral review only if first challenged on direct

review.” Bousely, 523 U.S. at 621. Here, Petitioner voluntarily entered into a plea agreement and

should not be allowed now to resuscitate claims as to which she knowingly and willingly defaulted.

Petitioner does not address procedural default in her motion; that is, she does not demonstrate

cause to excuse her failure to challenge her conviction on direct appeal, nor does she make any




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suggestion that she did not factually commit the offenses. Any such argument runs contrary to

Petitioner’s signed plea agreement and statement of facts.

           B. The Supreme Court’s decision in Dimaya had no impact on Petitioner’s RICO
              conspiracy conviction.

       Notwithstanding Petitioner’s procedural default of her claim in Ground Two, the request

for relief pursuant to the Supreme Court’s decision in Sessions v. Dimaya, 138 S. Ct. 1204 (2018),

also lacks any merit. Petitioner contends that she is “actually innocent” of her RICO conspiracy

conviction because “it was not predicated on a ‘crime of violence.’” ECF No. 978 at 24. This

argument is unavailing, however, as RICO conspiracy under 18 U.S.C. § 1962(d) need not be

deemed a crime of violence in order for one to stand validly convicted under the statute. And the

Dimaya decision changed nothing in this respect.

       In Dimaya, the Supreme Court found that, under the categorical approach, the “residual

clause” of the crime of violence definition at 18 U.S.C. § 16(b) was unconstitutionally vague.

Dimaya, 138 S. Ct. at 1210. Section 16 defines “crime of violence,” for purposes of the federal

criminal code, as:

       (a) an offense that has as an element the use, attempted use, or threatened use of
       physical force against the person or property of another, or

       (b) any other offense that is a felony and that, by its nature, involves a substantial
       risk that physical force against the person or property of another may be used in the
       course of committing the offense.

18 U.S.C. § 16. The § 16(b) residual clause impacted the defendant in Dimaya by rendering him

deportable under the Immigration and Nationality Act (8 U.S.C. § 1227(a)(2)(A)(iii)) due to a prior

conviction that was deemed a crime of violence and therefore an “aggravated felony.” Dimaya,

138 S. Ct. at 1211 (“removal is a virtual certainty for an alien found to have an aggravated felony

conviction.”). Specifically, Dimaya’s prior California first degree burglary conviction was found



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to be a crime of violence under § 16(b) because “[b]y its nature,” […] the offense “carries a

substantial risk of the use of force.” Id.

       Section 16(b) has no such effect on a § 1962(d) RICO conspiracy conviction, however. To

prove a RICO conspiracy offense, “evidence must show the existence of a RICO ‘enterprise’ in

which the defendant conspired to participate, and that the defendant conspired that a member of

the enterprise would perform at least two racketeering acts constituting a ‘pattern of racketeering

activity.’” United States v. Pinson, 860 F.3d 152, 161 (4th Cir. 2017) (citing Salinas v. United

States, 522 U.S. 52, 62 (1997); United States v. Cornell, 780 F.3d 616, 621 (4th Cir. 2015). The

offense does not require a crime of violence in order to show a pattern of racketeering activity.

Rather, predicate “racketeering activity” includes, inter alia, “any act or threat involving murder,

kidnapping, gambling, arson, robbery, bribery, extortion, dealing in obscene matter, or dealing in

a controlled substance or listed chemical […] which is chargeable under State law and punishable

by imprisonment for more than one year.” 18 U.S.C. § 1961.

       Accordingly, Petitioner’s RICO conspiracy conviction, which was supported by her

admission that she “agreed with other members of DMI to engage in the affairs of DMI through a

pattern of racketeering activity that included multiple acts of narcotics trafficking and a murder,”

remains valid. ECF No. 475 (Plea Agreement) at ¶ 6 (emphasis added).

       Moreover, although the precise rationale behind Petitioner’s claim is unclear, it appears

that she has confused her § 1962(d) conviction with a separate RICO statute – violent crimes in

aid of racketeering under 18 U.S.C. § 1959. See ECF No. 978 at 24 (“Petitioner’s § 1962(d) is

incorporated into § 1959”); see id. (“Petitioner is actually innocent of her 18 U.S.C. § 1959

conviction”); see id. (“RICO with an underlying murder conviction is not a crime of violence”).




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Petitioner was not convicted of a § 1959 offense, however. Thus, any argument with respect to

Section 1959 has no import here.

       Even if Petitioner had been convicted of a violent crime in aid of racketeering (“VICAR”),

her arguments would nonetheless be meritless, as the Fourth Circuit has found that the categorical

approach that was central in the Dimaya decision does not apply to Section 1959. United States

v. Keene, 955 F.3d 391, 398 (4th Cir. 2020) (“we need not apply the categorical approach to protect

the defendants’ rights under the VICAR statute.”).

       Accordingly, Petitioner’s constitutional challenge of her RICO conspiracy conviction is

both procedurally defaulted and meritless, and should be summarily denied.

                                        CONCLUSION

       For the reasons stated herein, the Government respectfully requests that this Honorable

Court DENY Petitioner’s Motion with prejudice.



                                                     Respectfully submitted,

                                                     Robert K. Hur
                                                     United States Attorney


                                             By:     __________/s/____________________
                                                     Christopher J. Romano
                                                     Assistant United States Attorney

                                                     _________/s/_______________
                                                     Ellen E. Nazmy
                                                     Special Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 4, 2020, a copy of the foregoing Response was

mailed to:

       Nicky Cash, #53977-037
       FCI Hazelton
       Federal Correctional Institution
       P.O. Box 5000
       Bruceton Mills, WV 26525



                                          By:    _________/s/_____________________
                                                 Ellen E. Nazmy
                                                 Special Assistant United States Attorney




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